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                    IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF OREGON




 UNITED STATES OF AMERICA,                      Case No. 3:14-cr-00252-IM

                            Plaintiff,          MOTION FOR EARLY
                                                TERMINATION OF
                     v.                         SUPERVISED RELEASE
 DAVID FABOO,

                            Defendant.

      Pursuant to Federal Rule of Criminal Procedure 32.1(c)(2) and 18 U.S.C.

§ 3583(e), the defendant, David Faboo, through his attorney, Susan Russell, respectfully

moves this Court to terminate his supervised release term early. Mr. Faboo’s U.S.

Probation Officer, Siri Overstreet, has been contacted and responded that the U.S.

Probation Office cannot provide their position on Mr. Faboo’s Motion for Early


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Termination until the motion is filed with the Court. USPO Overstreet did share her

observations on Mr. Faboo’s progress while on supervision, noting that Mr. Faboo is in

compliance with the conditions of his supervised release and remains stable in his

employment and residence. The government was previously represented in this case by

Assistant U.S. Attorney Jane Shoemaker who is no longer with that office. No attorney

has been re-assigned to this case from the U.S. Attorney’s Office and the government’s

position on Mr. Faboo’s Motion for Early Termination of Supervised Release is

unknown.

                                     BACKGROUND

        On January 4, 2011, Mr. Faboo was convicted of Enticing Interstate Travel With

Intent to Engage in Illegal Sexual Act (Class C Felony) in the Eastern District of

California in Case No. 2:08-cr-00159-LKK. He was sentenced to a prison term of 78

months and 180 months of supervised release. Mr. Faboo’s term of supervised release

commenced on October 22, 2013. On June 6, 2014, jurisdiction was transferred to the

District of Oregon. Mr. Faboo’s supervised release term is set to expire on October 21,

2028.

        Mr. Faboo is currently in full compliance with all terms of his supervised release

and his conduct demonstrates that supervision is no longer necessary. He therefore

respectfully requests that the Court terminate his supervised release.



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                                         ANALYSIS

       Early Termination Of Supervised Release Is Warranted By The Conduct Of
       Mr. Faboo And The Interest Of Justice.

       Section 3583(e) authorizes the Court to terminate a term of supervised release at

any time after the expiration of one year of supervised release in the case of a felony if

“it is satisfied that such action is warranted by the conduct of the defendant and the

interest of justice.” 18 U.S.C. § 3583(e)(1).

       The record in this case establishes that early termination of supervised release is

warranted. Mr. Faboo is in full compliance with all conditions of supervised release and

he continues to make progressive strides towards his supervision objectives. Mr. Faboo

has obtained no new arrests or convictions, has no unresolved pending charges, nor has

he engaged in any new criminal conduct.

       Mr. Faboo has made himself actively available for supervision. He reports as

directed, complies with the directions of his federal probation officer, and is currently in

full compliance with all conditions of his supervised release.

       Mr. Faboo lives in a stable and drug-free residence, a house in Hillsboro, Oregon

where he has rented a room for the past three years. Mr. Faboo has also maintained

stable employment, working as a truck driver with Market Express for over two years.

       Mr. Faboo has actively engaged in extensive programming and treatment

throughout the course of his supervision. Mr. Faboo successfully completed over three


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years of drug and mental health counselling at Lifeworks Northwest and over four

years of sex offender treatment with a recognized treatment provider in Portland,

Oregon, for which Mr. Faboo paid himself.

       Mr. Faboo satisfies all criteria for early termination. He respectfully submits that

supervised release is “no longer necessary” and urges the Court to terminate his

supervised release at this time.

                                       CONCLUSION

       For the foregoing reasons, Mr. Faboo respectfully requests that the Court

terminate his supervised release term early. Early termination is warranted not only by

his conduct, but also by the interest of justice.

       RESPECTFULLY submitted this 6th day of May, 2021.

                                           /s/ Susan Russell
                                           Susan Russell
                                           Assistant Federal Public Defender




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